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                        UNITED STATES DISTRICT COURT      , ~-~ . t :, ·r·!·;- ;; ic. f -,. 1
                       WESTERN DISTRICT OF KENTUCKY         17 OCT 26 PM I: 07
                                AT LOUISVILLE
                      CRIMINAL ACTION NO. 3:16-CR-00073-GNS

 UNITED STATES OF AMERICA                                                             PLAINTIFF

 vs.

 KAKEITHO HUGHES (1)                                                                 DEFENDANT


            ACKNOWLEDGEMENT OF WAIVER OF APPEAL RIGHTS

        I hereby acknowledge that as a part of my plea agreement with the United States, I
 waived the right to appeal the sentence I just received from the Court.




 October 26, 2017
 Date
